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                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

  IN RE: Ayomide J. Aderemi                           CHAPTER 13

          DEBTOR
                                                      BANKRUPTCY CASE NUMBER
                                                      19-12530/JKF


                ENTRY OF APPEARANCE AND REQUEST FOR NOTICE

       Pursuant to Bankruptcy Rules 2002 and 9007, Bankruptcy Code §§102(1), 342, and

1109(b), Nationstar Mortgage LLC d/b/a Mr. Cooper, requests special notice of all matters which

must be noticed to creditors, equity security holders, any creditors or other committees, and any

other parties in interest whether sent by the Court, the Debtor, the Trustee, or any other party.

This request includes not only the notices and papers referred to in the Rules above, but also

includes, without limitation, Orders and notice of any Application, Motion, Petition, Pleading,

Request, Complaint, and demand, whether formal or informal, whether written or oral, and

whether transmitted or conveyed by mail delivery, telephone, telegraph, telex, facsimile or

otherwise.


                                                      SHAPIRO & DENARDO, LLC

DATED:         June 12, 2019                          BY:/s/ Kevin S. Frankel
                                                      Kevin S. Frankel, Esquire
                                                      Shapiro & DeNardo, LLC
                                                      3600 Horizon Drive, Suite 150
                                                      King of Prussia, PA 19406
                                                      (610) 278-6800 / fax (847) 954-4809
                                                      PA BAR ID # 318323
                                                      pabk@logs.com
S&D File #: 19-062837
